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                          Exhibit 6

                    Plan Supplement Notice
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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE


    In re
                                                                      Chapter 11

    Lordstown Motors Corp., et al.,1                                  Case No. 23-10831 (MFW)

                                                                      (Jointly Administered)
                                            Debtors.

                                                                      Re: Docket No: [●]


                   NOTICE OF FILING OF PLAN SUPPLEMENT FOR THE
                  MODIFIED FIRST AMENDED JOINT CHAPTER 11 PLAN OF
                LORDSTOWN MOTORS CORP. AND ITS AFFILIATED DEBTORS

        PLEASE TAKE NOTICE that on [●], 2023, the United States Bankruptcy Court for the
District of Delaware (the “Bankruptcy Court”) entered an order (the “Disclosure Statement
Order”): (a) approving the Disclosure Statement Pursuant to 11 U.S.C. § 1125 with Respect to
Modified First Amended Joint Chapter 11 Plan of Lordstown Motors Corp. and Its Affiliated
Debtors (together with all schedules and exhibits thereto, and as may be modified, amended, or
supplemented from time to time, the “Disclosure Statement”) and the form and manner of notice;
(b) approving procedures for soliciting, receiving, and tabulating votes on the Plan and for filing
objections to the Plan (the “Solicitation Procedures”); (c) approving the forms of ballots; (d)
approving the form, manner and scope of confirmation notices; (e) establishing certain deadlines
in connection with approval of the Disclosure Statement and confirmation of the Modified First
Amended Joint Chapter 11 Plan of Lordstown Motors Corp. and Its Affiliated Debtors (together
with all schedules and exhibits thereto, and as may be modified, amended, or supplemented from
time to time, the “Plan”); 2 and (f) granting related relief.

       PLEASE TAKE FURTHER NOTICE that, the Debtors hereby file certain exhibits to
the Plan consisting of the following:

      Exhibit                                                 Document3
            A         New Organizational Documents

1
         The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors
Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service address
is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
2
         Capitalized terms used but not otherwise defined herein have the meanings ascribed to such terms in the Plan
or the Disclosure Statement, as applicable.
3
            The exhibits set forth in the Plan Supplement remain subject to ongoing review and material revision in all
respects.
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   Exhibit                                           Document3
      B         Identities of members of the New Board
      C         Schedule of Retained Causes of Action
      D         Litigation Trust Agreement
      E         Post-Effective Date Debtor Amount Budget
      F         Identity of Claims Ombudsman
      G         Claims Ombudsman Agreement
      H         Identity of Litigation Trustee


        PLEASE TAKE FURTHER NOTICE that the documents, schedules, and other
information contained in this Plan Supplement are integral to and part of the Plan. These
documents have not yet been approved by the Bankruptcy Court. If the Plan is approved, the
documents contained in the Plan Supplement will be approved by the Bankruptcy Court pursuant
to the Confirmation Order.

       PLEASE TAKE FURTHER NOTICE that the Debtors reserve all rights to amend,
modify, or supplement the Plan Supplement, and any of the documents contained therein, in
accordance with the terms of the Plan. If material amendments or modifications are made to any
of these documents, the Debtors will file a blackline with the Bankruptcy Court prior to the
Confirmation Hearing marked to reflect the same.

        PLEASE TAKE FURTHER NOTICE THAT all votes to accept or reject the Plan must
be actually received by the Debtors’ Solicitation Agent at the Lordstown Processing Center, c/o
Kurtzman Carson Consultants LLC, 222 N. Pacific Coast Highway, Suite 300, CA 90245 by no
later than December 12, 2023 at 5:00 p.m. (prevailing Eastern Time) (the “Voting Deadline”).

       PLEASE TAKE FURTHER NOTICE THAT a hearing to consider confirmation of the
Plan (the “Confirmation Hearing”) has been scheduled for December 19, 2023 at [●]
(prevailing Eastern Time), before the Honorable Mary F. Walrath, United States Bankruptcy
Judge, at the Bankruptcy Court, located at 824 North Market Street, Fifth Floor, Courtroom No.
4, Wilmington, Delaware 19801. The Confirmation Hearing may be adjourned or continued
from time to time by the Bankruptcy Court or the Debtors without further notice other than
adjournments announced in open court or as indicated in any notice of agenda of matters
scheduled for hearing filed by the Debtors with the Bankruptcy Court.

        PLEASE TAKE FURTHER NOTICE THAT if you would like to object to the Plan,
you may do so by filing your objection no later than December 8, 2023 at 4:00 p.m. (prevailing
Eastern Time) (the “Plan Objection Deadline”). Any objections or responses to confirmation
of the Plan, must: (a) be in writing; (b) state the name and address of the objecting party and the
nature and amount of the Claim or Interest of such party; (c) state with particularity the legal and
factual basis and nature of any objection to the Plan and include any evidentiary support therefor;
and (d) conform to the Bankruptcy Rules, the local rules of the Bankruptcy Court, and any order


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of the Bankruptcy Court; (e) be filed with the Bankruptcy Court, 824 North Market Street, Third
Floor, Wilmington, Delaware 19801 together with proof of service on or before the Plan
Objection Deadline, and served so as to be actually received by the parties below before the Plan
Objection Deadline, which service may be through the CM/ECF system, with courtesy copies to:

       (a)     counsel to the Debtors, (i) White & Case LLP, Southeast Financial Center, 200
               South Biscayne Boulevard, Suite 4900, Miami, FL 33131 (Attn: Thomas E Lauria
               (tlauria@whitecase.com), Matthew Brown (mbrown@whitecase.com), and Fan B.
               He (fhe@whitecase.com)), 1221 Avenue of the Americas, New York, NY 10020
               (Attn: David Turetsky (david.turetsky@whitecase.com)), 111 South Wacker Drive,
               Suite 5100, Chicago, IL 60606 (Attn: Jason N. Zakia (jzakia@whitecase.com)),
               and 555 South Flower Street, Suite 2700, Los Angeles, CA 90071 (Attn: Roberto
               Kampfner (rkampfner@whitecase.com), Doah Kim (doah.kim@whitecase.com),
               and RJ Szuba (rj.szuba@whitecase.com)), and (ii) Womble Bond Dickinson (US)
               LLP, 1313 North Market Street, Suite 1200, Wilmington, Delaware 19801 (Attn:
               Donald J. Detweiler (don.detweiler@wbd-us.com) and Morgan L. Patterson
               (morgan.patterson@wbd-us.com));

       (b)     the U.S. Trustee, 844 King Street, Suite 2207, Lockbox 35, Wilmington, DE 19801
               (Attn: Benjamin A. Hackman (Benjamin.A.Hackman@usdoj.gov));

       (c)     counsel to the Creditors’ Committee, Troutman Pepper Hamilton Sanders LLP,
               Hercules Plaza, Suite 5100 1313 N. Market Street, Suite 5100 Wilmington, DE
               19801 (Attn: David M. Fournier (david.fournier@troutman.com), and 875 Third
               Avenue New York, NY 10022 (Attn: Deborah Kovsky-Apap
               (deborah.kovsky@troutman.com), and 3000 Two Logan Square, 18th & Arch
               Streets,    Philadelphia,   PA     19103    (Attn:    Francis   J.   Lawall
               (francis.lawall@troutman.com)); and

       (d)     counsel to the Equity Committee, (i) Morris James LLP, 500 Delaware Avenue,
               Suite     1500,     Wilmington,   DE    19801    (Attn:   Eric    J.    Monzo
               (emonzo@morrisjames.com) and Brya M. Keilson (bkeilson@morrisjames.com));
               and (ii) Brown Rudnick LLP, 7 Times Square, New York, NY 10036 (Attn: Robert
               J.    Stark     (rstark@brownrudnick.com)    and   Bennett     S.    Silverberg
               (bsilverberg@brownrudnick.com)).

        PLEASE TAKE FURTHER NOTICE THAT you may obtain the Plan, the Disclosure
Statement, the Plan Supplement, or related documents from Kurtzman Carson Consultants LLC
(the “Solicitation Agent”) free of charge by: (a) calling the Debtors’ toll-free restructuring hotline
at (877) 709-4757 (U.S./Canada) or (424) 236-7235 (international); (b) visiting the Debtors’
restructuring website at https://www.kccllc.net/lordstown; (c) writing to Lordstown Processing
Center, c/o Kurtzman Carson Consultants LLC, 222 N. Pacific Coast Highway, Suite 300, El
Segundo, CA 90245; or (d) emailing lordstowninfo@kccllc.com (with ‘Lordstown’ in the subject
line).

        You may also access           from    these   materials    for   a   fee   via   PACER      at
http://www.deb.uscourts.gov/.


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YOU ARE ADVISED TO CAREFULLY REVIEW AND CONSIDER THE PLAN,
INCLUDING THE DISCHARGE, INJUNCTION, RELEASE, AND EXCULPATION
PROVISIONS CONTAINED IN ARTICLE VIII OF THE PLAN. ARTICLE VIII.D OF
THE PLAN CONTAINS THIRD-PARTY RELEASES. THUS, YOU ARE ADVISED TO
REVIEW AND CONSIDER THE PLAN CAREFULLY BECAUSE YOUR RIGHTS
MIGHT BE AFFECTED THEREUNDER.

THIS NOTICE IS BEING SENT TO YOU FOR INFORMATIONAL PURPOSES ONLY.
IF YOU HAVE QUESTIONS WITH RESPECT TO YOUR RIGHTS UNDER THE
PLAN OR ABOUT ANYTHING STATED HEREIN OR IF YOU WOULD LIKE TO
OBTAIN ADDITIONAL INFORMATION, PLEASE CONTACT THE SOLICITATION
AGENT AS SPECIFIED ABOVE. PLEASE NOTE THAT THE SOLICITATION
AGENT MAY NOT PROVIDE LEGAL ADVICE. IF YOU NEED LEGAL ADVICE,
PLEASE CONSULT WITH YOUR ATTORNEY.




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Dated: October [●], 2023                      WHITE & CASE LLP
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Respectfully submitted,
                                              Matthew C. Brown (admitted pro hac vice)
                                              Fan B. He (admitted pro hac vice)
/s/
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